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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 1:12-cr-00184-DAD-BAM-2
12                      Plaintiff,
13          v.                                         ORDER DENYING EXTENSION OF TIME
                                                       TO FILE NOTICE OF APPEAL UNDER
14   DAVID ARREOLA,                                    FEDERAL RULE OF CIVIL PROCEDURE
                                                       4(b)(4)
15                      Defendant.
                                                       (Doc. Nos. 156, 159, 160, 168)
16

17          On August 3, 2015, defendant filed an Ex Parte Motion for Appointment of Counsel to

18   assist him in preparing and filing a motion for reduction of sentence pursuant to 18 U.S.C. §

19   3582(c). (Doc. No. 153.) The Office of the Federal Defender filed notice with this court that it

20   did not recommend the appointment of counsel in this case for that purpose. (Doc. No. 154.) On

21   November 17, 2015, the previously assigned District Judge issued an order denying defendant’s

22   motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2). (Doc. No. 156.) On December

23   8, 2015, defendant filed a notice of appeal from the court’s November 17, 2015 order. (Doc. Nos.

24   159 & 160.)

25          On December 9, 2015, the Ninth Circuit Court of Appeals issued an order noting that

26   defendant had filed his Notice of Appeal more than 14 days after entry of the order denying his

27   motion to reduce his sentence, but within 30 days after the expiration of the time to file a notice

28   of appeal. Because defendant’s notice of appeal was filed more than 14 days after entry of the
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 1   order in question, it was not timely under Federal Rule of Appellate Procedure 4(b)(1)(A). The

 2   Ninth Circuit, therefore, remanded this matter to the district court:

 3                  for the limited purpose of permitting the district court to provide
                    appellant notice and an opportunity to request that the time for
 4                  filing the notice of appeal be extended, for a period not to exceed
                    30 days from the expiration of the time prescribed by Rule 4(b),
 5                  upon a finding of excusable neglect or good cause.
 6          On December 11, 2015, this court issued an order seeking additional briefing and,

 7   specifically, directing defendant:

 8                  to advise the court in writing no later than December 24, 2015,
                    whether he requests the court to extend the time for filing his
 9                  Notice of Appeal and, if so, to provide the court with an
                    explanation for his failure to file a notice of appeal within the
10                  fourteen (14) days required by Federal Rule of Appellate Procedure
                    4(b)(1)(A). If defendant does not establish excusable neglect or
11                  good cause, there will not be any basis for this court to consider
                    whether to extend the time for him to file a notice of appeal in this
12                  action. Since this court is operating under a deadline if it chooses
                    to grant an extension under Federal Rule of Civil Procedure 4(b)(4),
13                  no extensions of time will be granted to respond to this order.
14   (Doc. No. 163 at 3:5-13.)

15          On the same day it issued, the order was served by mail via the United States Postal

16   Service. However, due to a clerical error the order was erroneously served on a co-defendant

17   rather than upon defendant Arreola. Ten days later this clerical error was apparently discovered

18   by Clerk’s Office staff and the December 11 order was reserved on defendant Arreola by mailing

19   it to him at the address provided by the Ninth Circuit in its order of December 9, 2015. However,

20   it appeared to the undersigned likely that defendant Arreola did not receive this court’s order
21   inviting additional briefing until on or after the deadline set for him to respond. Consequently, to

22   provide defendant Arreola with adequate notice, on January 5, 2016, the court reissued its

23   December 11 order inviting additional briefing and provided defendant Arreola with a new

24   deadline to respond of January 27, 2016. (Doc. No. 168.) On the same it issued, this order was

25   served on defendant Arreola by mail via the United States Postal Service to the proper address

26   provided by the Ninth Circuit in its December 9, 2015 order. To date, however, defendant
27   Arreola still has not responded in any way to either this court’s December 11, 2015 order or its

28   January 5, 2016 order for additional briefing.
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 1                                                 DISCUSSION

 2           “In a criminal case, the district court has discretion under [Federal Rule of Appellate

 3   Procedure] 4(b) to grant an extension of time [for filing a notice of appeal] upon finding

 4   ‘excusable neglect.’” United States v. Prairie Pharmacy, Inc., 921 F.2d 211, 212 (9th Cir. 1990).

 5   Federal Rule of Appellate Procedure 4(b)(4) provides:

 6                  Upon a finding of excusable neglect or good cause, the district
                    court may - before or after the time has expired, with or without
 7                  motion and notice - extend the time to file a notice of appeal for a
                    period not to exceed 30 days from the expiration of the time
 8                  otherwise prescribed by this Rule 4(b).
 9           In cases such as this one in which a prisoner seeks to appeal pro se, both the Supreme

10   Court and Ninth Circuit have held “a notice of appeal filed by an incarcerated prisoner, after the

11   time for filing a notice of appeal had run, [is] timely if the appellant ‘did all he could do under the

12   circumstances’ to file his appeal within [the proscribed deadline].” Prairie Pharmacy, 921 F.2d

13   at 213 (quoting Fallen v. United States, 378 U.S. 139, 144 (1964), and citing United States v.

14   Houser, 804 F.2d 565 (9th Cir. 1986)).

15           In the court’s January 5, 2015 order, defendant was directed to advise the court in writing

16   no later than January 27, 2015, whether he requested an extension of time for filing his Notice of

17   Appeal and, if so, to provide the court with an explanation for his failure to file his Notice of

18   Appeal within the 14 days of the filing of the order which is the subject of the appeal as required

19   by Federal Rule of Appellate Procedure 4(b)(1)(A). Defendant Arreola has not responded in any

20   way to either this order or the prior order for additional briefing in any way. Accordingly, this
21   court has no basis upon which to make a finding of excusable neglect or good cause in order to

22   extend the time to file a notice of appeal.

23           For the reasons set forth above,

24           (1) This court declines to grant defendant an extension of time to file a notice of appeal

25              under Federal Rule of Civil Procedure 4(b)(4);

26           (2) The Clerk of the Court is DIRECTED to TERMINATE defendant David Arreola and
27              CLOSE THE CASE; and

28   /////
                                                       3
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 1            (3) The Clerk of the Court is directed to serve this order on defendant David Arreola at:

 2                           David Arreola
                             68795-097
 3
                             Adams County Correctional Center
 4                           P.O. Box 1600
                             Washington, MS 39190
 5

 6   IT IS SO ORDERED.
 7
     Dated:     February 1, 2016
 8                                                         UNITED STATES DISTRICT JUDGE

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